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                                  July 10, 2019

Hon. David N. Hurd, U.S. District Judge
Alexander Pirnie Federal Bldg. and U.S. Courthouse
10 Broad Street
Utica, NY 13501


Re: Lafever v. Clarke, et al.
    Civil No. 3:17-cv-1206 (DNH/DEP)

Dear Judge Hurd:

     This is a letter request pursuant to Local Rule 7.1.(j) for an
Adjournment of the two Summary Judgment Motions now pending, filed
separately by City Defendants and County Defendants in this action
under 42 U.S.C. § 1983. Currently, the Return dated on both motions
is August 9, and the date for Plaintiff to file her response is July
23.

     Plaintiff is asking that the motions be adjourned until
September 13, 2019, a date which is 35 days after the current date
for Return. Ms April Laws, for the City Defendants, and Mr. Ronnie
White, for the County Defendants, do not oppose this adjournment.
The 31 day adjournment period in the Rules would only allow an
actual adjournment of two weeks, due to the dates of the Court’s
Motion Days. Plaintiff asks that the Court grant the adjournment
until September 13, a period of 35 days (including the Labor Day
holiday).

     This additional time is necessary to give Plaintiff the time to
fully reply to two Summary Judgment Motions, both of which are
extensive.   Plaintiff asks that the Court consider the following
circumstances in its determination:

     Plaintiff’s counsel is a sole practitioner, and these responses
require substantial attention. Plaintiff’s counsel is scheduled to
be out of the office for ten days from July 14-24. Part of that
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time will be an attorney’s conference out of the country. Plaintiff
lives in California and there are often delays in communication
between client and attorney.

     Further, if the Court determines that the attorneys should
appear personally on the return date, Plaintiff’s counsel will be
required to travel substantially for that purpose.     The shorter
adjournment time that falls within the rules would tax counsel’s
ability to travel and be present. The September date can be worked
into the schedule, if such an appearance is requested.

     This case has been a big project for a small office, and
Plaintiff’s counsel asks for this minimal additional time to lessen
the impact on the office.

     If the adjournment is granted as requested, Plaintiff’s
Responsive papers would be due on August 27, and Defendants’ Replies
would be due on September 3, 2019.

     Thank you (and counsel) for your consideration.

                                    Sincerely yours,


                                   /s/ W. Andrew McCullough
                                    W. Andrew McCullough


WAM: ct


cc: Frank W. Miller, Esq.
    April Laws, Esq.
    Client
